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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

UNITED STATES CORPORATION

v.                                                      CASE NO. 3:17-cv-713-J-34JBT

DEVON WAHID AHAD MORING EL 1
________________________________/

                         REPORT AND RECOMMENDATION 2

       THIS CAUSE is before the Court on Plaintiff’s Application to Proceed in

District Court Without Prepaying Fees or Costs, which the Court construes as a

Motion to Proceed In Forma Pauperis (“Motion”) (Doc. 2). For the reasons stated

herein, the undersigned respectfully RECOMMENDS that the Motion be DENIED

and the case be DISMISSED without prejudice.

       In its prior Order (Doc. 3), the Court took the Motion under advisement and

stated that Plaintiff’s Filing (Doc. 1), titled “Denial of Corporate Existence,” is “not



       1 As explained in the Court’s prior Order (Doc. 3), the relevant Filing (Doc. 1),
including the caption, is nonsensical. To the extent the filing party, Devon Wahid Ahad
Moring El, intended to file a civil lawsuit, it appears that he should be the named Plaintiff,
and “United States Corporation” should be the named Defendant. Therefore, the
undersigned will refer to Mr. Moring El as Plaintiff herein.
       2   “Within 14 days after being served with a copy of [this Report and
Recommendation], a party may serve and file specific written objections to the proposed
findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A party may respond to
another party’s objections within 14 days after being served with a copy.” Id. A party’s
failure to serve and file specific objections to the proposed findings and recommendations
alters the scope of review by the District Judge and the United States Court of Appeals
for the Eleventh Circuit, including waiver of the right to challenge anything to which no
specific objection was made. See Fed. R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(B); 11th
Cir. R. 3-1; Local Rule 6.02.
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a proper complaint. It does not attempt to state any cause of action, and it does

not request any relief from the Court.” (Doc. 3 at 3.) The incomprehensible Filing

states in part: “The purpose of this to be governized document is to establish the

fact that I/Eye Devon Wahid Ahad Moring El am not an [sic] corporation, US citizen,

so-called 14th Amendment citizen, fictitious entity of any kind, cestui que trust, etc.”

(Doc. 1 at 2.) The remainder of the Filing appears to be an explanation of Plaintiff’s

beliefs.

       The Court noted that, “[b]ased on the nature of the Filing, it does not appear

that Plaintiff is attempting to file a civil lawsuit, and he may not intend to take any

further action in this case.” (Doc. 3 at 3.) However, the Order stated: “If Plaintiff

intends to pursue a civil action, he shall file a proper amended complaint in

compliance with this Order and all applicable rules and statutes on or before

August 10, 2017. If Plaintiff fails to do so, the undersigned will likely recommend

that the District Judge deny the Motion and dismiss this action.” (Id. at 4.)

       To date, Plaintiff has not filed an amended complaint or taken any other

action regarding this case. For this reason, and the reasons stated in the prior

Order, the undersigned recommends that this case be dismissed for Plaintiff’s

failure to state a claim on which relief may be granted and failure to prosecute.

       Accordingly, it is respectfully RECOMMENDED that:

       1.    The Motion (Doc. 2) be DENIED.

       2.    The case be DISMISSED without prejudice.

       3.    The Clerk of Court be directed to terminate any pending motions and


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close the file.

       DONE AND ENTERED at Jacksonville, Florida, on August 23, 2017.




Copies to:

The Honorable Marcia Morales Howard
United States District Judge

Pro Se Plaintiff




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